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   8                     UNITED STATES DISTRICT COURT
   9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   ANTON INTERNATIONAL, a                   Case No. 5:21-cv-00120-JWH-KKx
         California corporation,
  12
                   Plaintiff,                   JUDGMENT
  13
             v.
  14
       CHUNHONG ZHANG, an individual,
  15     and
       DOES 1 through 50,
  16
                   Defendants.
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   1         In accordance with the Order filed concurrently herewith, and pursuant to
   2   Rule 58 of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED,
   3   ADJUDGED, AND DECREED that judgment be entered as follows:
   4         1.    Judgment in the above-captioned is entered in FAVOR of
   5   Defendant Chunhong Zhang and AGAINST Plaintiff Anton International.
   6         2.    Fictitiously named Defendants Does 1 through 50 are
   7   DISMISSED.
   8         3.    Plaintiff Anton International shall recover nothing on its
   9   Complaint, and this action is DISMISSED on the merits.
  10         4.    To the extent that any party requests any other form of relief, such
  11   request is DENIED.
  12         IT IS SO ORDERED.
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  14   Dated: April 26, 2021
                                             John W. Holcomb
  15                                         UNITED STATES DISTRICT JUDGE
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